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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                           :
                                                   :
       v.                                          :           CRIMINAL ACTION NO. 15-173-1
                                                   :           CIVIL ACTION NO. 20-2547
DEMETRIUS DARDEN                                   :

                                              ORDER

       AND NOW, this 30th day of September, 2021, after considering the motion under 28

U.S.C. § 2255 to vacate, set aside, or correct sentence by a person in federal custody filed by the

pro se movant, Demetrius Darden (“Darden”) (Doc. No. 76), the government’s response in

opposition to the motion (Doc. No. 79), Darden’s reply brief in support of the motion (Doc. No.

80), and Darden’s letter dated March 11, 2021 (Doc. No. 81); and for the reasons set forth in the

separately filed memorandum opinion, it is hereby ORDERED as follows:

       1.       Darden’s motion under 28 U.S.C. § 2255 to vacate, set aside, or correct sentence

by a person in federal custody (Doc. No. 76) is DENIED;

       2.       The court DECLINES to hold an evidentiary hearing;

       3.       There is no cause to issue a certificate of appealability;

       4.       The clerk of court shall REMOVE the companion civil matter, Civil Action No.

20-2547, from civil suspense and RETURN it to the undersigned’s active docket; and

       5.       The clerk of court is DIRECTED to CLOSE Civil Action No. 20-2547.


                                                       BY THE COURT:



                                                       /s/ Edward G. Smith
                                                       EDWARD G. SMITH, J.
